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[Dodsmdef] [Dismissing for Deficiencies]




                                           ORDERED.
Dated: August 26, 2016




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                    Case No. 6:16−bk−05251−RAC
                                                                          Chapter 7
Azella Luckey




________Debtor*________/

                                            ORDER DISMISSING CASE


   THIS CASE came on for consideration upon the Court's own motion. The Debtor has failed to file or correct
deficiencies in the item(s) indicated below by August 22, 2016 . The Court advised the Debtor of these
requirements in either a Notice of Deficient Filing or by separate order of the Court.

 Failure to file any or all Schedules A−J as required.

 Failure to file a Statement of Your Monthly Income.

 Failure to file Statement of Financial Affairs.

 Failure to file a master mailing matrix as required by Local Rule 1007−2(a)(1).



   Accordingly, it is ORDERED:

   1. The case is dismissed without a discharge.

   2. If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the time this Order is entered,
the stay is extended for 14 days from the date of this Order, notwithstanding the provisions of 11 U.S.C. §
362(c)(2)(B).

   3. All pending hearings are cancelled with the exception of any currently scheduled hearing on a Motion for
Relief from Stay or on an Order to Show Cause over which the Court reserves jurisdiction.

   4. The Debtor shall immediately pay to the Clerk, U.S. Bankruptcy Court, $ 0.00, by cashier's check or money
order, for the balance of the filing fee as required by 28 U.S.C. § 1930.
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   5. The Trustee is discharged from any further duties.



Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
